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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

UNITED STATES OF AMERICA,                  )
                                           )
                                           )
       v.                                  )              Case No. 3:05-cr-114
                                           )              Hon. Henry E. Hudson
                                           )
DWIGHT WHORLEY,                            )
                                           )
              Defendant.                   )

                DEFENDANT’S MOTION TO SEAL EXHIBIT TO MOTION
              FOR COMPASSIONATE RELEASE DUE TO TERMINAL ILLNESS

       COMES NOW the defendant, Dwight Whorley, by counsel, and for the reasons stated in

the Memorandum in Support of Motion to Seal, requests this Court file the exhibit to his Motion

for Compassionate Release Due to Terminal Illness under seal.

                                                   Respectfully Submitted,
                                                   DWIGHT WHORLEY

                                           By:                  /s/
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